           Case 4:22-cv-00559-ALM Document 30-9 Filed 11/06/23 Page 1 of 1 PageID #: 574

                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS

                                           SHERMAN DIVISION

                                                                               EXHIBIT I
 JLR GLOBAL LLC, et al


           Plaintiffs, C|V|L ACT|0N N0.4:22-cv-559
 v- JURY TRIAL DEMANDED

 PAYPAL INC.,

           Defendant.


                                     DECLARATION OF JENNIFER RYAN


       I, the undersigned, make this declar tion to the best of my knowledge, and do so under the penalty of

peijury.

       I am unable to pay for the attorneys fees and arbitration costs required in this case. I have contacted over

30 attorneys and the only attorney willing to represent me in arbitration against Defendant estimates the cost of

the arbitration to be at least $350,000. In order to arbitrate my case effectively, I would have to pay $350,000 or

get a loan for that amount. I do not have $350,000 and I cannot obtain a loan for $350,000.

       I am unable to pay $350,000 in attorneys fees and arbitration costs. My businesses were destroyed after

the Defendant s actions against me, and I have been working very hard to reestablish myself financially,

however, as of now, my savings and retirement accounts are depleted. I am deeply in debt and struggling to

survive. Market conditions are worsening for real estate and I m working overtime to survive financially.

       The amount of $350,000 is too high for me to pay to arbitrate with the Defendant, and if I am required to

 rbitrate, I will have no other choice but to forgo my claims due to lack of funds and resources.

       November 4, 2023
